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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                2/13/2025

 URTHTECH LLC,                                                   ORDER ON
                                                         LETTER MOTION CONCERNING
                                Plaintiff,            CONTENTION INTERROGATORIES AND
                                                      SCHEDULING DISCOVERY CONFERENCE
                    -against-
                                                              1:22-CV-6727 (PKC)(KHP)
 GOJO INDUSTRIES, INC.,

                                Defendant.

KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

       Fact discovery in this case closes on March 7, 2025, and expert discovery closes on June

6, 2025. On November 6, 2024, UrthTech LLC (“UrthTech”) served three contention

interrogatories on GoJo Industries, Inc. (“GoJo”). GoJo objected to those interrogatories on

various grounds, including that they were served beyond the deadline set for service of

interrogatories, and because it views the interrogatories as overbroad, burdensome,

disproportionate to the needs of the case, and seeking irrelevant information.


       On December 17, 2024, UrthTech filed a letter motion with this Court asking it to compel

answers to its interrogatories. The letter motion is not in compliance with this Court’s rules,

which require a letter requesting a conference to discuss a proposed discovery motion before

filing such a motion. Therefore, the Court construes the motion as one for a conference and

grants the request for a discovery conference. A discovery conference is scheduled for March

12, 2025 at 12:00 p.m. in Courtroom 17D. UrthTech shall be prepared to discuss why there is

good cause for allowing the interrogatories after the deadline set by the Court as well as the

relevance and proportionality of the interrogatories. GoJo also shall be prepared to discuss any

prejudice to allowing three contention interrogatories at this point in discovery in light of the

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Local Rule requiring contention interrogatories to be served at the end of discovery as well as

why the interrogatories are disproportionate to the needs of the case in light of the

proportionality factors set forth in Federal Rule of Civil Procedure 26(b)(1).


       The Clerk of Court is respectfully directed to terminate the motion at ECF No. 114.


           SO ORDERED.
 Dated:    February 13, 2025
           New York, New York

                                                                KATHARINE H. PARKER
                                                            United States Magistrate Judge




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